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 1                                                                       Hon. James L. Robart
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   JOHNNY B. DELASHAW, JR.,
                                                       No. 18-cv-00537-JLR
10                                Plaintiff,
                                                       ORDER ON DEFENDANT COBBS’
11          v.                                         MOTION TO SEAL (1) REPLY IN
                                                       SUPPORT OF SECOND MOTION
12   SEATTLE TIMES COMPANY and                         FOR SUMMARY JUDGMENT AND
     CHARLES COBBS,                                    (2) REPLY RE OSKOUIAN BRIEF
13                                                     IN SUPPORT OF MOTION TO
                                  Defendants.          SEAL
14
                                                       CLERK’S ACTION REQUIRED
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17          Pending before the Court is Defendant Charles Cobbs’ (“Dr. Cobbs”) Motion to

18   Seal (1) Reply in Support of Second Motion for Summary Judgment and (2) Reply re

19   Oskouian Brief in Support of Motion to Seal (the “Motion”). In connection with the

20   Motion, the Court reviewed and considered the following:

21          1.     Defendant Cobbs’ Motion to Seal (1) Reply in Support of Second Motion
                   for Summary Judgment and (2) Reply re Oskouian Brief in Support of
22                 Motion to Seal;
23          2.     Plaintiff’s response and supporting documents, if any; and

24          3.     Dr. Cobbs’ reply and supporting documents, if any.

25   The Court also reviewed the records on file herein. And being otherwise fully advised,

26   now, therefore,

                                                                                      LAW OFFICES OF

     ORDER ON DEF. COBBS’ MOT. TO SEAL (1) REPLY ISO                    MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                                600 University Street, Suite 2700
     2ND MOT. FOR SUMM. J. AND (2) REPLY RE OSKOUIAN                            Seattle, Washington 98101-3143
     BRIEF ISO MOT. TO SEAL (No. 18-cv-00537-JLR) – Page 1                               (206) 467-1816
                 Case 2:18-cv-00537-JLR Document 282 Filed 10/16/20 Page 2 of 2



 1                  IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant
 2        Cobbs’ Motion to Seal (1) Reply in Support of Second Motion for Summary Judgment
 3        and (2) Reply re Oskouian Brief in Support of Motion to Seal (Dkt. # 246) is:
 4                       GRANTED.
 5
                         IT IS SO ORDERED.
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                    DATED this 16th day of October, 2020.
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                                                       A
                                                      Honorable James L. Robart
                                                      United States District Court Judge
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          Presented by:
13
          McNAUL EBEL NAWROT & HELGREN PLLC
14
          By:     s/Malaika M. Eaton
15                  Malaika M. Eaton, WSBA No. 32837
                    Jehiel I. Baer, WSBA No. 46951]
16                  meaton@mcnaul.com
                    jbaer@mcnaul.com
17
          SOMERVILLE, LLC
18
          By:     s/John Q. Somerville
19                  John Q. Somerville, Admitted Pro Hac Vice
                    jqs@somervillellc.com
20
          Attorneys for Defendant Charles Cobbs
21

22

23

24

25

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                                                                                         LAW OFFICES OF

          ORDER ON DEF. COBBS’ MOT. TO SEAL (1) REPLY ISO                   MCNAUL EBEL NAWROT & HELGREN PLLC
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